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 8                          UNITED STATES DISTRICT COURT

 9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              April 2021 Grand Jury

11   UNITED STATES OF AMERICA,               ED CR No. 5:21-cr-00174 JWH

12             Plaintiff,                    I N D I C T M E N T

13             v.                            [18 U.S.C. §§ 1343, 1346: Wire
                                             Fraud Involving Deprivation of
14   RICHARD ALLEN KERR,                     Honest Services; 18 U.S.C.
                                             § 666(a)(1)(B): Bribery Concerning
15             Defendant.                    Programs Receiving Federal Funds;
                                             18 U.S.C. § 981(a)(1)(C) and 28
16                                           U.S.C. § 2461(c): Criminal
                                             Forfeiture]
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19        The Grand Jury charges:
20                             COUNTS ONE THROUGH SEVEN
21                               [18 U.S.C. §§ 1343, 1346]
22   A.   INTRODUCTORY ALLEGATIONS
23        1.    At times relevant to this Indictment:
24              a.   The City of Adelanto (“City”) was a local government
25   located in San Bernardino County.       Annually, the City received
26   federal assistance in excess of $10,000.        Specifically, on or about
27   January 12, 2017, the City received a $14,851 “Justice Assistance
28   Grant.”   The City also received rolling disbursements of federal
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 1   Community Development Block Grant funds on multiple occasions

 2   including: on June 29, 2016, a deposit of $15,305.41; on December 30,

 3   2016 deposits of $21,404.62; and on February 23, 2017, a deposit of

 4   $10,802.50.

 5              b.   The City’s policy-making and legislative authority was

 6   vested in a governing City Council consisting of the Mayor, the Mayor

 7   ProTem, and three other council members, all elected.          The Mayor was

 8   the highest ranking member of the City Council and was responsible

 9   for running the City Council.

10              c.   Defendant RICHARD ALLEN KERR was Mayor of the City

11   during 2015, 2016, 2017, and part of 2018.        As Mayor, defendant KERR

12   was an agent of the City, whose duties as Mayor and member of the

13   City Council included setting public policy for the City, including

14   through consideration of and voting on City ordinances, overseeing

15   the functioning of City government, setting the City’s budget,

16   serving on committees as directed by the City Council, and performing

17   other administrative duties.      Based on his employment and duties,

18   defendant KERR owed a duty of honest services to the City.           Among

19   other things, defendant KERR voted on ordinances governing zoning

20   regulations in the City, and served on the City’s Cannabis Dispensary

21   Permit Committee, which determined the number of dispensary permits

22   that would be issued, and determined which applicants would receive a

23   dispensary permit.

24              d.   Under the City’s code, an ordinance could not go into

25   effect until it had been approved at both a first and second reading.

26   Thereafter, the ordinances needed to be signed by the Mayor and

27   attested to by the City Clerk.

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 1                e.     “Person A” operated “Law Firm A,” a law firm located

 2   in San Bernardino County, specializing in plaintiff-side tort

 3   litigation.       Some family members of Person A, among others, also

 4   worked at Law Firm A.

 5                f.     “Person C” and “Person D” had business interests in

 6   and out of the City, including business interests involving marijuana

 7   cultivation.

 8                g.     On or about November 23, 2015, defendant KERR voted in

 9   favor of Ordinance 539, authorizing medical marijuana cultivation in

10   the City.

11                h.     On or about September 22, 2016, Person A and Person

12   A’s spouse purchased “Business A,” a building in Adelanto, California

13   that previously had operated as a restaurant.

14                i.     On or about October 12, 2016, defendant KERR voted in

15   favor of Ordinance 548, authorizing the distribution, transportation,

16   and testing of medical marijuana.

17                j.     On or about October 26, 2016, defendant KERR voted in

18   favor of Ordinance 553, an ordinance allowing medical marijuana

19   dispensaries to operate in the City, at the first “reading” of the

20   ordinance.

21                k.     On or about November 29, 2016, the City Council held

22   public discussion related to Ordinance 553, including discussion of

23   “overlay zones” within which medical marijuana dispensaries would be

24   located.    The initial proposal included two zones, neither of which

25   included Business A.      During the discussion, defendant KERR requested

26   a change in the boundaries of the second such overlay zone, which

27   expanded the zone to include Business A.

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 1              l.   On or about December 5, 2016, defendant KERR deposited

 2   a $5,000 check from Person A’s Real Estate Trust Account into

 3   defendant KERR’s US Bank Account.       The check was dated November 29,

 4   2016, and its memorandum line stated “ADV XMAS FUND.”

 5              m.   On or about December 22, 2016, defendant KERR

 6   deposited $4,000 of a $5,000 check from Person C into defendant

 7   KERR’s Navy Federal Credit Union Account.

 8              n.   On or about February 15, 2017, Person A and Person B,

 9   a family member of Person A, submitted plans to the City’s Planning

10   Department to remodel the building.        The plans called for the

11   building to be an attorney’s office, but they included items such as

12   “elongated sales counters,” a “dispensing room,” “cashier,” and

13   “security room.”

14              o.   On or about February 28, 2017, defendant KERR

15   deposited a $10,000 check from Law Firm A into his US Bank account.

16   The memorandum line of the check stated, “PLAINTIFF ADVANCE.”

17              p.   On or about May 17, 2017, the City Council heard the

18   first reading of a revised Ordinance 553 and Ordinance 557, with

19   General Plan Amendment 17-03, which included Business A in a

20   dispensary overlay zone, as discussed on November 29, 2016.

21   Defendant KERR voted in favor of both revised Ordinance 553 and

22   Ordinance 557, with General Plan Amendment 17-03.

23              q.   On or about May 24, 2017, the City Council heard the

24   second reading of revised Ordinance 553 and Ordinance 557, with

25   General Plan Amendment 17-03.      Again, defendant KERR voted in favor

26   of both revised Ordinance 553 and Ordinance 557, with General Plan

27   Amendment 17-03.

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 1               r.   On or about June 5, 2017, defendant KERR deposited a

 2   $2,500 check from Person C into defendant KERR’s US Bank account.

 3               s.   On or about June 21, 2017, defendant KERR deposited a

 4   $10,000 check from Law Firm A into his US Bank account.           The

 5   memorandum line of the check stated “ADVANCE,” and it was dated June

 6   16, 2017.

 7               t.   On or about August 23, 2017, defendant KERR deposited

 8   a $10,000 check from Law Firm A into his US Bank account.           The

 9   memorandum line of the check stated “ADVANCE,” and it was dated

10   August 23, 2017.

11               u.   On or about September 22, 2017, defendant KERR met

12   with the other members of the Cannabis Dispensary Permit Committee

13   who were present and approved granting dispensary permits to four

14   applicants, including Business A.

15               v.   In or around November 2017, defendant KERR told

16   “Person E,” an employee of the City, that defendant KERR had

17   recommended Person E for a $25,000 award, and that defendant KERR

18   wanted half of that award in exchange for the recommendation.

19   Unbeknownst to Person E at the time, the award was to be paid by

20   Person D.

21               w.   On or about April 12, 2018, defendant KERR deposited a

22   $5,000 check from Person C into his US Bank account.

23               x.   On or about April 27, 2018, Person C gave defendant

24   KERR $10,000 in cash.

25               y.   On or about April 28, 2018, defendant KERR sent a

26   series of text messages to Person C, thanking Person C for the

27   $10,000 and saying, in part, “I owe you big time, you name it.”

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 1   Person C responded by text message, saying, in part, “Just returning

 2   the favor for all your help.”

 3   B.   THE FRAUDULENT SCHEME

 4        2.    Beginning on an unknown date, but no later than on or about
 5   November 23, 2015, and continuing until an unknown date but no
 6   earlier than on or about June 18, 2018, in San Bernardino County,
 7   within the Central District of California, and elsewhere, defendant
 8   RICHARD ALLEN KERR, together with others known and unknown to the
 9   Grand Jury, knowingly and with the intent to defraud, devised,
10   participated in, and executed a scheme to defraud the City of
11   Adelanto as to material matters, including by depriving the City of
12   Adelanto of its right to the intangible right of honest services of
13   defendant KERR, namely, the honest performance of defendant KERR’s
14   duties as Mayor.    Specifically, defendant KERR secretly used his
15   official position to enrich himself and his co-schemers by:
16   (1) passing ordinances authorizing various types of commercial
17   marijuana activities, including marijuana cultivation, marijuana
18   distribution and transportation, and retail sales of marijuana via a
19   dispensary; (2) drafting zones for commercial marijuana activities to
20   include locations used by his supporters; and (3) ensuring his
21   supporters obtained the licenses or permits they sought; all in
22   contravention of conflict of interest prohibitions applying to
23   defendant KERR, and in exchange for bribes, kickbacks, gifts,
24   payments, and other things of value.
25   C.   MEANS TO ACCOMPLISH THE FRAUDULENT SCHEME
26        3.    The fraudulent scheme operated, in substance, in the
27   following manner:
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 1                a.   Defendant KERR would receive bribes and kickbacks in

 2   the form of cash and checks from Person A (or intermediaries of

 3   Person A), Person C, and other co-schemers with business interests in

 4   the City.

 5                b.   Defendant KERR, and co-schemers, would disguise the

 6   bribes and kickbacks as something other than a bribe or kickback,

 7   such as gifts, donations to a charitable fund, donations to defendant

 8   KERR’s election campaign, or advance payments for the proceeds of

 9   planned litigation associated with a motorcycle accident.

10                c.   In exchange for the bribes and kickbacks, defendant

11   KERR would provide favorable official action on behalf of the City to

12   Person A, Person C, and other co-schemers with business interests in

13   the City by authorizing various types of commercial marijuana

14   activities, ensuring his supporters obtained the licenses or permits

15   they sought, and interfering with enforcement activities by City

16   officials.

17                d.   Defendant KERR would not publicly disclose his

18   financial relationship with co-schemers.

19                e.   From December 2016 to April 2018, defendant KERR

20   accepted at least $57,500, in bribes and kickbacks from Person A,

21   Person C, and other co-schemers.

22   D.   USE OF INTERSTATE WIRES

23        4.      On or about the dates set forth below, in San Bernardino
24   County, within the Central District of California, and elsewhere,
25   defendant KERR, together with others known and unknown to the Grand
26   Jury, for the purpose of executing the above-described scheme to
27   defraud, transmitted and caused the transmission of the following
28   items by means of wire communication in interstate commerce:
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 1   COUNT DATE         WIRE TRANSMISSION
     ONE   December     Check from Bank of America account ending in 0795
 2         5, 2016      in the approximate amount of $5,000 deposited into
                        US Bank account ending in 0917 in California, and
 3                      processed electronically outside of California
     TWO    December    Check from Bank of America Account ending in 1816
 4          22, 2016    in the approximate amount of $4,000 deposited into
                        Navy Federal Credit Union account ending in 1705
 5                      in California, and processed electronically
                        outside of California
 6   THREE February     Check from Bank of America account ending in 8478
           28, 2017     in the approximate amount of $10,000 deposited
 7                      into US Bank account ending in 0917 in California,
                        and processed electronically outside of California
 8   FOUR   June 5,     Check from Bank of America account ending in 1816
            2017        in the approximate amount of $2,500 deposited into
 9                      US Bank account ending in 0917 in California, and
                        processed electronically outside of California
10   FIVE   June 21,    Check from Bank of America account ending in 8478
            2017        in the approximate amount of $10,000 deposited
11                      into US Bank account ending in 0917 in California,
                        and processed electronically outside of California
12   SIX    August      Check from Bank of America account ending in 8478
            23, 2017    in the approximate amount of $10,000 deposited
13                      into US Bank account ending in 0917 in California,
                        and processed electronically outside of California
14   SEVEN April 12,    Check from Bank of America account ending in 1816
           2018         in the approximate amount of $5,000 deposited into
15                      US Bank account ending in 5159 in California, and
                        processed electronically outside of California
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 1                                    COUNT EIGHT

 2                           [18 U.S.C. § 666(a)(1)(B)]

 3        The Grand Jury re-alleges paragraphs 1(a) through 1(e), 1(g)

 4   through 1(l), 1(n) through 1(q), and 1(s) through 1(u) of this

 5   Indictment here.

 6        Beginning on an unknown date, but no later than on or about

 7   November 29, 2016, and continuing until an unknown date, but no

 8   earlier than on or about September 22, 2017, in San Bernardino

 9   County, within the Central District of California, defendant RICHARD

10   ALLEN KERR, an agent of the City of Adelanto, corruptly solicited and

11   demanded for the benefit of himself and others, accepted, and agreed

12   to accept, a thing of value, namely, money from bank accounts

13   associated with Person A, intending to be influenced and rewarded in

14   connection with a business transaction and series of transactions of

15   the City having a value of $5,000 or more.        Specifically, defendant

16   KERR solicited, demanded, accepted, and agreed to accept money from

17   an intermediary of Person A, intending to be influenced and rewarded

18   in connection with the passage of an ordinance authorizing the

19   creation of medical marijuana dispensaries in the City, the expansion

20   of a medical marijuana dispensary business zone to include the

21   location of Business A, and the approval of Business A as a medical

22   marijuana dispensary, including defendant KERR’s voting on such

23   issues in meetings of the City Council and the Cannabis Dispensary

24   Permit Committee.

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 1                                     COUNT NINE

 2                           [18 U.S.C. § 666(a)(1)(B)]

 3           The Grand Jury re-alleges paragraphs 1(a) through 1(d), 1(f),

 4   1(g), 1(i), 1(m), 1(r), and 1(w) through 1(y) of this Indictment

 5   here.

 6           Beginning on an unknown date, but no later than on or about

 7   November 23, 2015, and continuing until an unknown date but no

 8   earlier than on or about June 18, 2018, in San Bernardino County,

 9   within the Central District of California, defendant RICHARD ALLEN

10   KERR, an agent of the City of Adelanto, corruptly solicited and

11   demanded for the benefit of himself and others, accepted, and agreed

12   to accept, a thing of value, namely, money from Person C, intending

13   to be influenced and rewarded in connection with a business

14   transaction and series of transactions of the City having a value of

15   $5,000 or more.    Specifically, defendant KERR solicited, demanded,

16   accepted, and agreed to accept money from Person C, intending to be

17   influenced and rewarded in connection with the passage of ordinances

18   (1) authorizing medical marijuana cultivation, and (2) authorizing

19   the distribution, transportation and testing of medical marijuana,

20   including defendant KERR’s voting on such issues in meetings of the

21   City Council.

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 1                              FORFEITURE ALLEGATION

 2             [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3        1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of the defendant’s conviction of

 8   the offenses set forth in any of Counts One through Nine of this

 9   Indictment.

10        2.    The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12              (a)   All right, title, and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds traceable to the offenses; and

15              (b)   To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18        3.    Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 28, United States Code, Section 2461(c), the

20   defendant, if so convicted, shall forfeit substitute property, up to

21   the value of the property described in the preceding paragraph if, as

22   the result of any act or omission of the defendant, the property

23   described in the preceding paragraph or any portion thereof (a)

24   cannot be located upon the exercise of due diligence; (b) has been

25   transferred, sold to, or deposited with a third party; (c) has been

26   placed beyond the jurisdiction of the court; (d) has been

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